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                         United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


Dr. Perin Parabia, an individual
                                                             Civil Action No. 19-cv-00725-BEN-MSB

                                                Plaintiff,
                                        V.
State Bank of Texas a Texas state-                            JUDGMENT IN A CIVIL CASE
chartered bank, as successor-in-interest to
the original lender; Chan Patel, an
individual; DOES 1-50, inclusive
                                              Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
Defendants Motion to Dismiss filed September 4, 2019 is hereby GRANTED. The Complaint and all
other pending motions are DISMISSEDWITH PREJUDICE.




Date:           8/3/20                                         CLERK OF COURT
                                                               JOHN MORRILL, Clerk of Court
                                                               By: s/ M. Exler
                                                                                     M. Exler, Deputy
